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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 STATE OF FLORIDA,

                 Plaintiff

                    v.                         Case No. 8:21-cv-839-SDM-AAS

 XAVIER BECERRA, Secretary of the
 Dep’t of Health and Human Services,
 et al.,
                Defendants.



                   MOTION FOR LEAVE TO FILE SHORT
                SUPPLEMENTAL BRIEF AND DECLARATION

      In light of recent developments, Defendants request leave to file a

supplemental memorandum (of no more than 5 pages) and short declaration in

opposition to the pending motion (all to be filed within a day of leave being granted).

Defendants do not oppose the filing of a response by Plaintiff of the same length.

      Recent developments weigh heavily against a preliminary injunction for at

least two reasons. First, Congress has ratified the Conditional Sailing Order

(“CSO”), the agency action being challenged here. See, e.g., Thomas v. Network Sols.,

Inc., 176 F.3d 500, 506 (D.C. Cir. 1999) (“Congress ‘has the power to ratify the acts

which it might have authorized’ in the first place.”). The Alaska Tourism

Restoration Act, signed into law on May 24, 2021, provides temporary standards for

the operation of certain cruise ships in Alaska. See Pub. L. No. 117-14, 117th Cong.

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(May 24, 2021) (“ATRA”). Prior to ATRA, the Passenger Vessel Services Act of

1886, Pub. L. No. 49-421 (“PVSA”), effectively prohibited a return to cruising in

Alaska. The PVSA prohibits foreign flagged vessels (i.e., all cruise ships subject to

the CSO in Alaska) from traveling between U.S. ports unless they make a stop at a

foreign port. See 46 U.S.C. § 55103. To comply with this law, Alaskan cruise

itineraries have typically included a stop at a Canadian port. But due to COVID-19,

Canadian law currently bars “[c]ruise vessels carrying more than 100 people are . . .

from operating in Canadian waters” until at least February 28, 2022. See Defs.’ PI

Ex. 11, ECF No. 46-11. Accordingly, the PVSA effectively prevented any cruising in

Alaska until February 2022. The ATRA temporarily permits “covered cruise ships”

to meet an alternative standard, where a “covered cruise ship” is defined as one that

“has been issued, operates in accordance with, and retains a COVID–19 Conditional

Sailing Certificate of the [CDC]” and “operates in accordance” with that Certificate.

ATRA § 2(a), (b). ATRA further provides that it does not apply “during any period

for which the Director of the [CDC] has issued an order under [42 U.S.C. §§ 264 and

268] that requires covered cruise ships to suspend vessel operations.” Id. § 2(e).

      Defendants’ supplemental brief will explain that ATRA ratifies the CSO.

Congress presumed that the CSO was valid, and expressly incorporated it into the

standards applied in ATRA. Congress has thus ratified the CDC’s authority to issue

the CSO, as well as the prior NSOs. This new issue merits additional briefing.

      Second, the proposed supplemental brief and declaration will address the

impending resumption of cruising. The CDC has continued to update its guidance in
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accordance with public health judgments and to provide technical assistance to the

industry. Moreover, as of June 1, 2021, the CDC has approved port agreements

covering 22 vessels at 5 ports of call (and is reviewing agreements for 6 additional

vessels); has approved or provisionally approved 4 requests to conduct simulated

voyages (with 6 more requests under review); and has received and provisionally

approved 2 conditional sailing certificates for highly vaccinated cruises. In short,

cruising is set to resume as planned, and Florida cannot establish an irreparable

injury that would occur in the absence of an injunction. The speculative nature of the

State’s “injury” is therefore further underlined by the fact that an injunction would

(a) end cruising in Alaska for the season (because ATRA only benefits ships

operating with a Conditional Sailing Certificate under the CSO); (b) cast

considerable doubt on public confidence in the industry, particularly in the State of

Florida, which is publicly battling with the industry over its own laws; 1 and (c)

otherwise undermine the carefully laid plans for safe resumption of passenger

operations. These updates therefore merit inclusion in the record.

                             Local Rule 3.01(g) Certification

       Undersigned counsel conferred with counsel for the State of Florida by email

on June 1, 2021. Plaintiff’s counsel indicated that Plaintiff partially opposes this

motion and will file a response.

Dated: June 2, 2021                         Respectfully submitted,

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 See “Cruise lines and Florida Gov. DeSantis square off over vaccine passports”, NBC News (May
31, 2021), https://www.nbcnews.com/politics/2020-election/cruise-lines-florida-gov-desantis-
square-over-vaccine-passports-n1269029 (last visited June 1, 2021).
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                                   BRIAN D. NETTER
                                   Deputy Assistant Attorney General

                                   ERIC BECKENHAUER
                                   Assistant Branch Director
                                   Federal Programs Branch, Civil Division

                                   s/ Amy E. Powell
                                   AMY ELIZABETH POWELL
                                   Senior Trial Counsel
                                   Federal Programs Branch
                                   Civil Division, Department of Justice
                                   150 Fayetteville St, Suite 2100
                                   Raleigh, NC 27601
                                   Phone: 919-856-4013
                                   Email: amy.powell@usdoj.gov

                                   /s/Liam C. Holland
                                   LIAM C. HOLLAND
                                   Trial Attorney
                                   Federal Programs Branch
                                   Civil Division, Department of Justice
                                   1100 L. Street, NW
                                   Washington, DC 20530
                                   Phone: 202-514-4964
                                   Email: Liam.C.Holland@usdoj.gov

                                   Counsel for Defendants




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